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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION
RHONDA LEDBETTER,                             )
                                              )
      Plaintiff,                              )
vs.                                           )      CIVIL ACTION
                                              )      NO: 1:17-cv-04157-SCJ
IDN-ARMSTRONG’S, INC.;                        )
IDN GLOBAL, INC.; and                         )
IDN, INC.,                                    )
                                              )
      Defendants.                             )

                          DEFENDANT’S RESPONSE TO
                   PLAINTIFF’S OPPOSITION TO BILL OF COSTS

      COME NOW Defendants IDN-Armstrong’s, Inc., IDN Global, Inc., and

IDN, Inc., and responds to Plaintiff’s Opposition to Defendant’s Bill of Costs as

follows:

      On September 12, 2019, Judge Steve C. Jones granted Defendant’s Motion

for Summary Judgment in its entirety and denied Plaintiff’s Motion for Partial

Summary Judgment. In his Order, Judge Jones DIRECTED the Clerk to enter

judgment. On September 12, 2019, the Clerk of Court entered Judgment ordering

that Defendants recover costs of this action. On October 8, 2019, Defendants

timely filed their Bill of Costs, providing the required itemization and invoices.
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         Federal Rule of Civil Procedure 54 authorizes the Clerk to tax costs on 14

days’ notice. FRCP 54 goes on to state “On motion served within the next 7 days,

the court may review the clerk’s action.” Defendants assert that Plaintiff’s

Opposition to Defendants’ Bill of Costs is premature. The Clerk may tax costs

authorized by 28 U.S.C. §1920. If Plaintiff is dissatisfied with the amount that the

Clerk taxes, Plaintiff will have 7 days to file a Motion.

         Respectfully submitted, this 30th day of October, 2019.

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